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                             IN THE UNITED STATES DISTRICT COURT FOR THE

                                FOR THE EASTERN DISTRICT OF VIRGINIA

                                            Alexandria Division

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                                                          Case No. 1:21-MJ-322
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                                                         UNDER SEAL
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   AFFIDAVIT IN SUPPORT OF A COMPLAINT, ARREST WARRANT, AND
                        SEARCH WARRANT


I, Michael T. Gruchacz, being first duly sworn, hereby depose and state as follows:

                              INTRODUCTION AND AGENT BACKGROUND

       1.    I am a Special Agent of the U.S. Department of Homeland Security, Homeland Security

Investigations (“HSI”) and am currently assigned to the Global Trade Investigations (“GTI”) Group in

Washington, DC. I have 22 years of law enforcement experience to include being employed as a Police

Officer with the Washington DC Metropolitan Police Department and as a Special Agent with the United

States Department of State. I have knowledge of the laws and regulations relating to the illegal

exportation and importation of weapons, technology, and other controlled commodities.               I am

empowered by law to investigate and make arrests for violations of federal law, including the unlawful

importation and exportation of merchandise and contraband into and out of the United States.

       2.   Based upon your Affiant’s training, experience, and discussions with other federal agents

related to the investigation of international import-related and National Firearms Act (“NFA”) violations,

this Affiant is aware that suppressors, also known as silencers, vary by design and appearance, but all,

when properly installed, will silence, muffle or diminish, the report of a portable firearm. See 18 U.S.C.

§ 921(a)(24). Under federal law, a suppressor or silencer is a type of firearm. See 26 U.S.C. 5845(a)(7).
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The making of a suppressor must be approved in advance by the Bureau of Alcohol, Tobacco, Firearms

and Explosives (“ATF”). To make a silencer, an individual must file an ATF Form 1, which is an

application to make a firearm, pay a $200.00 USD tax, and comply with all other provisions of the law

prior to making the firearm. See ATF Form 1 (available at: https://www.atf.gov/file/11281/download).

(last accessed: October 6, 2020). Approval of Form 1 results in the registration of the firearm and any

subsequent transfers must be approved in advanced by the ATF. ATF Form 6 is required to import

firearms     into    the     United     States.         See     ATF      Form      6     (available     at:

https://www.atf.gov/firearms/docs/form/form-6-part-1-application-and-permit-importation-firearms-

ammunition-and/download) (last accessed: August 12, 2021).

       3.   Your Affiant is aware of devices and items that can be modified to act as suppressors for

firearms. One such device is known as a “solvent trap” or “fuel filter.” The intended purpose of these

devices is to trap and hold cleaning fluids and there should not be a hole or index mark in these items.

A “solvent trap” or “oil filter” in and of itself may have a legitimate purpose of catching excess cleaning

fluids and is not a silencer until modified. However, these devices can be manufactured with the intent

of repurposing them as silencers. For example, the device may be sold with index markings to indicate

where a hole should be drilled and/or the device may be sold with “spacers” which act as baffles that

prevent the spreading of sound. A sound suppressor typically includes a metal tube with several interior

baffles that form expansion chambers for which the gases expelled from the end of the firearm enter the

expansion chambers and exit the suppressor. Under Title 18, United States Code, Section 921(a)(24),

the “terms ‘firearm silencer’ and ‘firearm muffler’ mean any device for silencing, muffling, or

diminishing the report of a portable firearm, including any combination of parts, designed or redesigned,

and intended for use in assembling or fabricating a firearm silencer or firearm muffler, and any part

intended only for use in such assembly or fabrication.”
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       4.     The facts set forth in this Affidavit are based on information that I have obtained from my

personal involvement in the investigation and from other law enforcement officers who have been

involved in this investigation, on documents that I have reviewed, and on my training and experience.

        5.      This Affidavit is made in support of a criminal complaint and arrest warrant charging

Joseph Jak-Man IP (“IP”) with violations of 18 U.S.C. § 922(g)(1), felon in possession of a firearm and

(a)(1)(A), transporting or shipping in interstate or foreign commerce; 18 U.S.C. § 545, smuggling goods

into the United States; 26 U.S.C. § 5861(a, d, f, i, k), possession/manufacturing of unregistered firearms;

27 CFR 447.52, import restrictions applicable to certain countries (China); and 26 U.S.C. § 5844, illegal

importation of a firearm. This Affidavit is also being submitted for the limited purpose of an application

for a warrant to search 5227 Chowan Ave, Alexandria, VA 22312 (hereinafter TARGET RESIDENCE)

as well as a 2015 Honda dark in color bearing VA registration ESTI19XX, Vehicle Identification

Number 1HGCT2A81FA004048 (hereinafter TARGET VEHICLE 1), a 1996 Toyota SUV dark in color

bearing VA registration IP8, Vehicle Identification Number JT3HN87R88T0021307 (hereinafter

TARGET VEHICLE 2) and a Storage Unit (further described below), and to seize evidence, contraband,

and instrumentalities of criminal activity that may be found therein. Both vehicles are registered to IP

at the TARGET RESIDENCE. Because this Affidavit is being submitted for these limited purposes, I

have not set forth all of the information known to me concerning this investigation. Instead, I have set

forth information that I believe to be sufficient to establish probable cause for this complaint and these

warrants.

                                           RELEVANT STATUTES

         6.    18 U.S.C. § 545 states in part that “[w]hoever knowingly and willfully, with intent to defraud

the United States, smuggles, or clandestinely introduces or attempts to smuggle or clandestinely introduce

into the United States any merchandise which should have been invoiced, or makes out or passes, or attempts
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to pass, through the customhouse any false, forged, or fraudulent invoice, or other document or paper; or

whoever fraudulently or knowingly imports or brings into the United States, any merchandise contrary to

law, or receives, conceals, buys, sells, or in any manner facilitates the transportation, concealment, or sale

of such merchandise after importation, knowing the same to have been imported or brought into the United

States contrary to law shall be fined under this title or imprisoned not more than 20 years, or both.”

        7.      26 U.S.C. § 5861(a) provides that it is unlawful to engage in business as a manufacturer or

importer of, or dealer in, firearms without having paid the special (occupational) tax, (d) provides that it

shall be unlawful for any person to receive or possess a firearm which is not registered to him in the National

Firearms Registry and Transfer Record, (f) provides that it shall be unlawful for any person to make a

firearm in violation of the provisions of this chapter, (i) provides that it shall be unlawful for any person to

receive or possess a firearm which is not identified by a serial number as required by this chapter, and (k)

provides that it shall be unlawful for any person to receive or possess a firearm which has been imported or

brought into the United States in violation of Section 5844.

        8.      26 U.S.C. § 5844 provides that no firearm shall be imported or brought into the United

States or any territory under its control or jurisdiction unless the importer establishes, under regulations

as may be prescribed by the Secretary of the Treasury, that the firearm to be imported or brought in is—

(1) being imported or brought in for the use of the United States or any department, independent

establishment, or agency thereof or any State or possession or any political subdivision thereof; or

(2) being imported or brought in for scientific or research purposes; or (3) being imported or brought in

solely for testing or use as a model by a registered manufacturer or solely for use as a sample by a

registered importer or registered dealer.

        9.      27 CFR § 447.21 contains the U.S. Munitions Import List. Under subsection (d) of the

U.S. Munitions Import List, category I—firearms, the following defense articles, designated pursuant to
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section 38(a) of the Arms Export Control Act, 22 U.S.C. § 2778(a), and E.O. 13637, are subject to

controls: (d) Firearms silencers and suppressors, including flash suppressors.

       10.     27 CFR § 447.52 lists import restrictions applicable to certain countries.           Under

subsection (a), it is the policy of the United States to deny licenses and other approvals with respect to

defense articles and defense services originating in certain countries or areas. This policy applies to

countries or areas with respect to which the United States maintains an arms embargo, including China.

It also applies when an import would not be in furtherance of world peace and the security and foreign

policy of the United States.

       11.     18 USC § 922(g)(1) states that “[i]t shall be unlawful for any person—who has been

convicted in any court of, a crime punishable by imprisonment for a term exceeding one year; to possess

a firearm.”

       12.     18 USC § 922(a)(1)(A) states “[i]t shall be unlawful—for any person, except a licensed

importer, licensed manufacturer, or licensed dealer, to engage in the business of importing,

manufacturing, or dealing in firearms, or in the course of such business to ship, transport, or receive any

firearm in interstate or foreign commerce.”

                                              DEFINITIONS

         13.    For the purpose of this Affidavit, the following terms are defined:

               a) CONTROLLED DELIVERY – The technique of allowing illicit or suspect goods to

                   pass out of, through, or into the United States under supervision of an authorized law

                   enforcement officer, with the goal of identifying persons involved in criminal activity.

               b) CUSTOMS DECLARATION – A hard copy or electronic form on which is “declared”

                   or listed, the details of any goods that are being imported or exported to/from the

                   United States, whether by means of commercial shipments or in-person. Mailing
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         goods into or out of the United States also requires the sending party to complete a

         customs declaration form.

      c) FIREARM – The term “firearm” means (A) any weapon (including a starter gun)

         which will or is designed to or may readily be converted to expel a projectile by the

         action of an explosive; (B) the frame or receiver of any such weapon; (C) any firearm

         muffler or firearm silencer; or (D) any destructive device (Title 18, United States

         Code, Section 921(a)(3)).

      d) FIREARM SILENCER or FIREARM MUFFLER – The terms “firearm silencer” and

         “firearm muffler” mean any device for silencing, muffling, or diminishing the report

         of a portable firearm, including any combination of parts, designed or redesigned, and

         intended for use in assembling or fabricating a firearm silencer or firearm muffler,

         and any part intended only for use in such assembly or fabrication (Title 18, United

         States Code, Section 921(a)(24)). According to information received from the Bureau

         of Alcohol, Tobacco, Firearms & Explosives (“ATF”), legitimate solvent traps are

         devices attached to the muzzle of a firearm barrel designed to catch or “trap” dirty

         cleaning solvent pushed through the barrel from the chamber end and out through the

         muzzle. Solvent traps are intended to prevent solvent from dripping, spraying, or

         spattering when pushed out the muzzle end of a firearm barrel. The front end-cap

         of a solvent trap/fuel filter must be solid and have no hole that will allow a

         projectile to pass through (including “pilot” holes that can be widened to allow

         a projectile to pass-through or marks indicating the location to drill such a hole).

         Devices that have a hole in or indexing mark for a hole in the front end-cap are

         classified as a “firearm silencer” under the National Firearms Act (“NFA”). See
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                 ATF Firearms & Ammunition Technology Division, Technical Bulletin 20-01

                 (Oct. 30, 2019).

             e) SMUGGLING – Fraudulently or knowingly importing or bringing into the United

                 States, any merchandise contrary to law, or receiving, concealing, buying, selling, or

                 in any manner facilitating the transportation, concealment, or sale of such

                 merchandise after importation, knowing the same to have been imported or brought

                 into the United States contrary to law (Title 18, United States Code, Section 545).

             f) MERCHANDISE and GOODS – Interchangeable terms both describing anything that

                 can be imported or exported from the United States.

             g) EXTENDED BORDER SEARCH – This is an extension of a customs officer’s

                 authority to conduct warrantless searches of people, cargo, and means of transport,

                 including mail, for unlawfully imported or exported goods at the borders of the United

                 States. The extension pertains to searches away from the border where there is

                 reasonable certainty a border was crossed, reasonable certainty that no change in the

                 object of the search has occurred from the time a border was crossed and the time of

                 the search, and reasonable suspicion criminal activity is occurring.

                                        PREVIOUS LEGAL PROCESS

      14.    On February 12, 2021, I obtained search warrants for JOSEPHIP8@GMAIL.COM

(TARGET ACCOUNT 1) and IP77JOSEPH@GMAIL.COM (TARGET ACCOUNT2) before the

Honorable Magistrate Judge John F. Anderson

                                    SUBJECT OF INVESTIGATION

      15.    Joseph IP is a United States Citizen, born in Cleveland, OH. IP lists TARGET

ACCOUNT 1 on his U.S. Passport application as a form of contact. IP has multiple misdemeanor and
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felony convictions related to receiving stolen property, burglary (Felony 3 Cuyahoga County OH, 24

months), possession of criminal tools (Felony 3 Cuyahoga County OH), attempt theft (Felony 5

Cuyahoga County OH), breaking and entering, arson, carrying a concealed firearm and narcotics

violations (12 months Summit County Ohio 5 years probation). This investigation has revealed several

PayPal and eBay accounts subscribed to by IP, utilizing target account 1 and 2 as well as his residence

at 5227 Chowan Ave, Alexandria, VA 22312 (TARGET RESIDENCE). According to IP’s social

media, he has a disdain for law enforcement and highlights photos suggesting this. IP has video on his

Instagram account showing him at protests wearing multi-cam body armor plates and a “defund MPD”

mask. IP also has several concerning purchases (further discussed below) such as silencers, firearm

parts and gas masks. IP is not unknown to The Department of Homeland Security. On June 19, 2017,

a parcel destined for a previous address of IP was seized and contained 102 ecstasy pills. On August 3,

2018, a parcel containing 13 grams of Methylenedioxymethamphetamine (MDMA) was seized,

destined for IP at another previous address. I have also confirmed through ATF that IP has never

applied for a Form 1 or Form 6 to import, possess and manufacture firearms. As a convicted felon, he

would not be approved. IP previously resided at 4001 Dakota Ct, Alexandria, VA 22312. IP had

many illegal items sent to this location before he moved to the TARGET RESIDENCE. As stated

below, a parcel containing four firearm suppressors was seized by authorities pursuant at a border

search indicating that IP brought his contraband from Dakota Ct to the TARGET RESIDENCE. IP has

two vehicles listed to the target address. (Additional Photos in Attachment C)

                          STATEMENT OF FACTS AND PROBABLE CAUSE

       16.     Since in and around October 2019, HSI has been investigating certain unlawful

importations of firearms and related controlled components into the United States, specifically, those

originating from sources in China and elsewhere. HSI and CBP began targeting known manufacturers
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and shippers of silencers and placing “holds” on the packages so that they could be detained and seized

if/when encountered at a U.S. port of entry. According to the ATF, recently there has been an influx of

counterfeit or non-regulated suppressors entering the United States via foreign sources. ATF has

encountered these suppressors and partnered with HSI and Customs and Border Protection (“CBP”) to

combat the flow of these suppressors into the United States. Since this operation has commenced, there

have been over 12,000 of these devices seized at the U.S. Ports of Entry and during investigative

controlled deliveries targeting individuals who received the items contrary to law.

       17.      Based on my training and experience, inline filters, fuel filters, solvent traps as well as

other descriptions of devices coming from China are marketed as being used in vehicles as fuel filters as

well as screwed onto the end of a barrel to “catch” cleaning solvents. During this investigation I have

encountered several types of these devices that I believe are being converted into silencers. Monolithic

core devices which consist of a one-piece core surrounded by a metal sleeve, stacked baffle device,

which has several metal pieces stacked inside of a tube that can be custom cut depending on the need of

the user and K baffles, which are similar to stacked baffles but have a more cone shape baffle inside of

the metal tube. A sound suppressor typically includes a metal tube with several interior baffles that form

expansion chambers from which the gases expelled from the end of the firearm enter the expansion

chambers and exit the suppressor. Based on analysis of previous seizures, I believe that a stacked baffle

and K baffle silencer weighs approximately .13 KG-.18 KG. and a monolithic silencer weighs

approximately .25 KG.

       18.     On or about January 19, 2021, I was notified about a parcel that was destined for IP at

5227 Chowan Ave, Alexandria, VA 22312 (TARGET RESIDENCE). The parcel contained four (4)

firearm suppressors. The parcel was seized after a border search was conducted on the parcel at the

International Mail Facility at JFK Airport. The parcel was then sent to me as evidence in the case.
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                                 PAYPAL AND EBAY EVIDENCE

       19.    Based on the fact that IP is a convicted felon who was ordering firearm suppressors, I

contacted eBay and PayPal regarding transactions that IP has conducted with the two companies. I

know from my training and experience that individuals who order suppressors from China often use

eBay and PayPal.

       20.    PayPal account ending in ending in 3064 was created January 4, 2021, using TARGET

ACCOUNT 1. Account ending in 1704 was created September 9, 2020, using TARGET ACCOUNT

2. Account ending in 9044 was created February 15, 2020, using TARGET ACCOUNT 1. Account

ending in 0957 was created January 15, 2019, using TARGET ACCOUNT 1. Account ending in 7814

was created on September 4, 2008, using TARGET ACCOUNT 1. Account ending in 4939 was

created May 21, 2005, using TARGET ACCOUNT 1.

       21.    There were several concerning purchases made by IP using PayPal account ending in

4939 and 0957.

       -March 27, 2020, GLOCK TAC LIGHT TACTICAL OEM
       -April 3, 2019, D Cell 9/16x24 Low Profile Maglite Replacement End Cap flashlight thread
       solvent
       -January 15, 2019, UTG TL-K7FAD01 Side Folding Stock Adapter fits 4 & 6 Position
       Extension Tubes
       -January 16, 2019, FUEL TRAP / SOLVENT FILTER 1X6 1-1/2X6 1-3/4X10 NAPA 4003,
       WIX 24003 USA [1X6, 1.050” OD, 7/8” ID]
       -January 16, 2019, Aluminum Dry Storage Cups for 1.750" Tubes "I'AM BACK" Maglite
       -January 17, 2019, 6Pc 5.5mm HSS Titanium Coated Point Twist Drill Bit Straight Shank
       Length 91mm
       -January 17, 2019, Genuine M 4003 Fuel Filter (Napa, 4003 Wix 24003) *Made in USA-Buy
       American*



       22.    IP has an active eBay account and what appear to be several inactive accounts. User ID

xcomputer-fixerx was created on March 13, 2004, using TARGET ACCOUNT 1 and lists the

TARGET RESIDENCE as the shipping address. The name who subscribed to the account is “Joseph
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Ip”. IP made the below listed purchases from this eBay account using TARGET ACCOUNT1.

       -January 8, 2019, GLOCK Magazine .40 Cal. 10 Rounds Includes Loader
       -March 30, 2019, Butler Creek SL-10CL Clear 10 Round Steel Lips Ruger 10/22 Magazine
       22LR Rifle
       -August 28, 2019, UTG TL-K7FAD01 Side Folding Stock Adapter fits 4 & 6 Position
       Extension Tubes
       -June 10, 2019, AVID AVMICRO1022 Black Ruger 10/22 Keychain Gun Smithing Firearm
       Micro-Tool
       -February 26, 2019, Tactical Ergonomic Ambidextrous Picatinny Rail Mount Folding Foregrip
       Black
       -January 29, 2019, 8 Pack Aluminum Storage Cups NAPA 4003 WIX 24003, Cup OD 1.797"
       -May 21, 2019, Maglite D Cell Cap Set 1/2"-28 Replace Combo Threaded End Caps For
       Flashlights
       -May 16, 2019, Gen 3 Maglite C Cell Cap set 1/2"-28 Replacement end caps
       -January 25, 2019, 1X6, 1-1/2X6, 1-3/4X10 filter
       -January 19, 2019, Aluminum Dry Storage Cups for 1.750" Tubes "I'AM BACK" Maglite
       -January 24, 2019, Genuine M 4003 Fuel Filter (Napa 4003 Wix 24003) *Made in USA-Buy
       American*
       -January 18, 2019, Craftsman 8-inch Drill Press Model # 137.219080 LOCAL PICKUP ONLY
       Chantilly, VA
       -March 26, 2020, 6Pc 5.5mm HSS Titanium Coated Point Twist Drill Bit Straight Shank
       Length 91mm
       -March 12, 2020, Premium NBC Gas Mask German Drager Military & Police M65 Full-Face
       w/NBC Filter
       -March 28, 2020, GLOCK TAC LIGHT TACTICAL OEM MINT. FREE SHIPPING!
       -April 28, 2020, 3 Maglite ML25LT-S2016 Black 2-Cell C LED Twist Head Black Flashlight
       Light
       -June 2, 2020, Med US Military Ballistic Advanced Combat Helmet ACH MICH MSA Foliage
       Green IIIA
       -June 13, 2020, ESS Profile Series Goggles Ballistic Military Tactical Profile NVG
       -January 25, 2021, Norseman 49420 5.5mm Metric Jobber Length Drill Bit - 2 Pack
       -February 20, 2021, Red Laser Boresighter Bore Sight kit for .22 to .50 Caliber Rifles Handgun

                            EVIDENCE FOUND IN TARGET ACCOUNTS

       23.     I have reviewed the raw data provided to me by Google, Inc. which is a mirror image of

IP’s email accounts. TARGET ACCOUNT 2 contained nothing of evidentiary value. TARGET

ACCOUNT 1 contained several emails of evidentiary value. An email dated January 16, 2019 confirmed

an order being shipped to IP for “8 pack aluminum storage cups napa 4003/wix24003 for $69.98, Fuel

trap solvent filter 1x6 for $128.99.” Additional emails are as follows:
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               -January 17, 2019 “your order is being shipped,” Aluminum dry storage cups for 1.75

       tubes :I am back). Purchased for $59.30.

               -January 15, 2019, “your order is confirmed.” Black Ruger 10/22 gun smithing tool

       $13.95, Red Laser Bore sighter $12.82, Ergonomic Ambidextrous folding foregrip $12.95.

               -January 18, 2019, he purchased a Craftsman drill press for $90.00. I know from training

       and experience that IP uses this to further manufacture the suppressors he obtains.

               -January 16, 2019, he purchased Maglite D-Cell threaded end caps for suppressors

       costing $12.40.

               -August 16, 2019, IP purchased three suppressors from online retailer BANGGOOD in

       the amount of $32.97.

       -January 17, 2019, IP purchased a 110 round drum magazine for a rifle costing $44.99 and a 25-

round magazine for a rifle costing $25.98 from GUNMAGWAREHOUSE.

       24.     On July 10, 2017, IP received an email after IP attempted to visit Kathy Kirby, inmate

1621029 at a Virginia Department of Corrections facility and made a formal request to do so. The

request was denied due to “falsifying information on your application regarding felony convictions.”

       25.     Several    emails     dated   between     2013     and    2017    were     recovered    from

WWW.ARMSLIST.COM between IP and several individuals who were selling firearms via the website.

IP would have been on probation until November 2015 for his felony conviction. On February 28, 2014,

IP has a conversation attempting to purchase a Glock in Falls Church, VA. On August 1, 2013, IP and

an individual agree to meet up at Famous Dave’s Barbecue located in Oakton, VA to purchase a Tactical

Mossberg Shotgun. On April 25, 2014, IP had a conversation with an individual trying to purchase an

AR15 lower. On February 15, 2017, IP had a conversation with an individual inquiring about purchasing

a Beretta 96 pistol. It is clear that IP is utilizing discreet options to purchase firearms because he cannot
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legally purchase from a dealer with a Federal Firearms License due to IP being a felon.

                                  IDENTIFICATION OF STORAGE UNIT

       26.     On August 8, 2021, I reviewed an email dated October 16, 2020, indicating that IP

rented a 10x15 storage unit located at Life Storage, 6457 General Green Way, Alexandria, VA 22312.

The unit is 4046 and is a ground level unit. The unit has a yellow roll up door and 4046 is located

directly above the door. His account is still active and I confirmed this on August 8, 2021 by utilizing

his access code to access the gated area leading to his locked unit. The rental agreement was found in

TARGET ACCOUNT 1 and provided the storage unit number and access code to the gate allowing

entry to the common area. I know that IP has been renting properties. His latest ones are 4001 Dakota

Ave and the TARGET RESIDENCE. I know that several other people live at the TARGET

RESIDENCE and storage of personal items may not be available. I know from training and

experience that renters need to store items not currently being used and I also know from training and

experience that criminals use rental units to conceal criminal activity, such as hiding weapons in other

places so as to not alert roommates or landlords.

                                     IDENTIFICATION OF VEHICLES

       27.     Two vehicles are registered to IP at the TARGET ADDRESS. A Black in color 2015

Honda bearing Virginia registration ESTI9XX and vehicle identification number

1HGCT2A81FA004048 (TARGET VEHICLE1). The second vehicle is a 1996 Toyota SUV bearing

Virginia registration IP8 and vehicle identification number JT3HN87R8T0021307 (TARGET

VEHICLE 2). I have seen IP drive the TARGET VEHICLES during surveillance and know from my

training and experience that it is common for individuals to keep receipts from purchases inside of

vehicles as well as for individuals to conceal firearms inside of vehicles, specifically felons who try to

conceal the fact that they have access to firearms. In order to confirm that all firearms in IP’s
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possession are in fact recovered, a search of the TARGET VEHICLES is necessary.

                                     INSTALLATION OF A POLECAM

       28.      On or about July 22, 2021, I had a polecam installed on a telephone pole outside of the

TARGET RESIDENCE. IP was seen numerous times entering and exiting the residence as well as

driving/interacting with TARGET VEHICLE 1 and TARGET VEHICLE 2. IP has been seen

numerous times walking his dog on the premises and utilizing the front door when he enters and exits

the premises.

                                      REQUEST FOR SEALING

       29.      It is respectfully requested that this Court issue an order sealing, until IP appears before

the Court, all papers submitted in support of this application for a complaint, arrest warrant, and search

warrant, including this Affidavit, the applications, and the warrants themselves. Your Affiant submits

that the requested sealing is necessary because the information and items to be disclosed and seized are

relevant to an ongoing investigation into the criminal activities described herein. Based upon my training

and experience, your Affiant has learned that criminals actively search the Internet for criminal

complaints, arrest warrants, search warrants, and affidavits, and disseminate them to other criminals as

they deem appropriate, such as by posting them publicly online. Premature disclosure of the contents of

this Affidavit and related documents may compromise this ongoing investigation by, among other things,

causing the subject to flee and the suspect to destroy or alter evidence.

                                                 CONCLUSION

       30.      Based on the following, I believe that there is probable cause for a complaint and arrest

warrant for IP charging crimes related to violations of 18 U.S.C. § 545, smuggling goods into the United

States; 26 U.S.C. § 5861(a, d, f, i, k), possession/manufacturing of unregistered firearms; 27 CFR 447.52,

and 18 U.S.C. §922(g)(1), felon in possession of a firearm. Additionally, based on the same information,
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your Affiant believes there is probable cause to obtain a search warrant for the premises described in

Attachment A for crimes related to violations of 18 U.S.C. § 545, smuggling goods into the United

States; 26 U.S.C. § 5861(a, d, f, i, k), possession/manufacturing of unregistered firearms; 27 CFR 447.52,

18 U.S.C. § 922(g)(1), felon in possession of a firearm and (a)(1)(A) transporting or shipping in interstate

or foreign commerce; and 26 U.S.C. § 5844, illegal importation of a firearm. I believe that a search of

the TARGET RESIDENCE will yield fruits and instrumentalities of a crime as described in Attachment

B.



                                                        ________________________________
                                                                  ____________
                                                        Special Agent         Gruchacz
                                                                  ent Michael Gr
                                                        Homeland Security Investigations
                                                                           Invest
                                                        U.S. Department of Homeland Security


Subscribed and sworn to in accordance with
Fed. R. Crim. P. 4.1 by telephone on September 30, 2021:
                           Digitally signed by Theresa C.
Theresa C. Buchanan Buchanan
___________________________________
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                                        ATTACHMENT A

                                    PREMISES TO BE SEARCHED
5227 Chowan Ave, Alexandria, VA 22312 is a two-story house with a brick facade in the front, white
garage door and a gray/blue wooden facade above the garage. 5227 is clearly posted on a mailbox at the
foot of the driveway.
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                                            Storage Unit

The unit is a 10x15 storage unit located at Life Storage, 6457 General Green Way, Alexandria, VA
22312. The unit is 4046 and is a ground level unit. The unit has a yellow roll up door and 4046 is
located directly above the door.




                                       TARGET VEHICLE 1
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                          TARGET VEHICLE 2
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                                           ATTACHMENT B

The items to be searched for and seized are as follows:

       1.         Evidence, fruits, and instrumentalities of violations of: 18 U.S.C. § 545, smuggling
goods into the United States; 26 U.S.C. § 5861(a, d, f, i, k), possession/manufacturing of unregistered
firearms; 27 CFR 447.52, import restrictions applicable to certain countries (China); and 26 U.S.C.
§ 5844, illegal importation of a firearm.

        2.     Any and all records including financial information, including tax returns and Internal
Revenue Service filings, and any work papers related thereto; bank, credit or securities account
statements, applications, deposit tickets, receipts, canceled checks, cashier checks, money orders, wire
transfer records, debit/credit memos; financial ledgers, journals, investment records, real estate records,
other records of assets; records of or related to contributions, grants or disbursements made or received,
and/or allocations; loan records, financial statements, audit work papers, audit reports (or
correspondence, transmittals or document related to any of the foregoing) related to the conspiracy.

       3.      Records, receipts, and document pertaining to travel between the United States and other
countries and travel within the United States.

       4.      Records, receipts, and documents pertaining to the transfer of money to, from, and within
the United States.

        5.       Any and all immigration documents, passports, visas, and documents that could be
submitted in behalf of an application for a visa, travel documents, United States and foreign identification
documents, identity cards issued by any foreign government, travel records including itineraries and
receipt stubs, and airline tickets.

       6.      Diaries, organizers, day planners, appointment books, telephone message pads, address
books and the like.

       7.      All identification documents reflecting the use of an alias, fictitious, or nominee name,
including passports, Social Security cards, immigration papers (to include but not limited to green cards,
work permits, visa) driver’s license (domestic or foreign), and state identification cards (domestic or
foreign).

        8.      All electronic storage devices and disks, input/output peripheral devices, related software,
documentation, and data security devices (including passwords) necessary to ensure the reliable analysis
and retrieval of the foregoing electronic and tangible objects by a qualified expert, including any and all
cellular telephones.

       9.       Computers and computer hardware, meaning any and all computer equipment including
any electronic, magnetic, optical, or similar computer impulses or data, network equipment and
peripherals, the software to operate them, and any data processing hardware.
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        10.     Any and all information and/or data stored in the form of magnetic, digital, or electronic
coding on computer media or on media capable of being read by a computer or with the aid of computer
related equipment. This media includes but is not limited to floppy diskettes, fixed hard disks, removable
hard disk cartridges, tapes, laser disks, videocassettes, and any other media, which is capable of storing
magnetic coding.

        11.     Any and all electronic devices which are capable of analyzing, creating, displaying,
converting, or transmitting electronic or magnetic computer impulses or data. These devices include but
are not limited to computers, computer components, computer peripherals, word processing equipment,
modems, monitors, printers, plotters, encryption circuit boards, optical scanners, external hard drives,
and other computer related electronic devices.

        A)      In my training and experience, some cell phone owners “lock” their devices, preventing
others from accessing their mobile devices without entering a password, PIN number, pattern lock code,
biometrics or other method. I know that accessing “locked” mobile devices can be difficult without the
correct password, pattern lock or biometric information. If the items seized are locked with biometric
features, such as fingerprints or facial recognition, I believe it may be necessary to place mobile devices
on the fingerprints or in front of the facial features of any occupants present in the TARGET
RESIDENCE in order to unlock the devices.

        B)      In my training and experience, an individual who is in possession of a device or has the
device among his or her belongings at the time the device is found is likely a user of the device. However,
in my training and experience, that person may not be the only user of the device whose biometric
features are among those that will unlock the device, and it is also possible that the person in whose
possession the device is found is not actually a user of that device at all. Furthermore, in my training
and experience, I know that in some cases it may not be possible to know with certainty who is the user
of a given device, such as if the device is found in a common area of a premises without any identifying
information on the exterior of the device. Thus, it will likely be necessary for law enforcement to have
the ability to require any occupant of the TARGET RESIDENCE to press their finger(s) against the
sensor of any locked device(s) found during the search of the TARGET RESIDENCE in order to attempt
to identify the device’s user(s) and unlock the device(s) via biometric features.

        12.     Any and all instructions or programs stored in the form of electronic or magnetic media,
which are capable of being interpreted by a computer, or related components. The items to be seized
could include but would not be limited to operating systems, application software, utility programs,
compilers, interpreters, and any other programs or software used to communicate with computer
programs or software used to communicate with computer hardware or peripherals either directly or
indirectly via telephone lines, DSL lines, cable lines, radio or other means of transmission.

       13.    Any and all written or printed material which provides instructions or examples
concerning the operation of a computer system, computer software, and/or any related device.

       14.      Any and all firearms, firearms components, silencers, suppressors, bills of sale related to
firearms and components and any and all paperwork related to the purchase, transfer, mailing or
otherwise of firearms.
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                                          ATTACHMENT C

Package seized containing 4 suppressors
